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                  UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

THEOPHILUS JONES,
    Plaintiff,

vs.                                                Case No.: 3:20cv5544/LAC/EMT

MARK INCH, et al.,
     Defendants.
_____________________/

                                           ORDER

       The chief magistrate judge issued a Report and Recommendation on October

2, 2020 (ECF No. 8).           The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). No objection has been filed.

       Having considered the Report and Recommendation, I have determined it

should be adopted.

       Accordingly, it is ORDERED:

       1.     The chief magistrate judge’s Report and Recommendation (ECF No. 8)

is adopted and incorporated by reference in this order.

       2.     This case is DISMISSED without prejudice for Plaintiff’s failure to

comply with an order of the court.


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       3.     The clerk of court is directed to enter judgment accordingly and close

this case.

       DONE AND ORDERED this 6th day of November, 2020.



                                    s/L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




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